

Matter of Samuels v Annucci (2017 NY Slip Op 08072)





Matter of Samuels v Annucci


2017 NY Slip Op 08072


Decided on November 16, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 16, 2017

524497

[*1]In the Matter of HARRY SAMUELS, Petitioner,
vANTHONY J. ANNUCCI, as Acting Commissioner of Corrections and Community Supervision, Respondent.

Calendar Date: September 19, 2017

Before: McCarthy, J.P., Egan Jr., Devine, Mulvey and

	 Pritzker, JJ.

Harry Samuels, Wallkill, petitioner pro se.
Eric T. Schneiderman, Attorney General, Albany (Marcus J. Mastracco of counsel), for respondent.



MEMORANDUM AND JUDGMENT
Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Ulster County) to review a determination of respondent finding petitioner guilty of violating a prison disciplinary rule.
Determination confirmed. No opinion.
McCarthy, J.P., Egan Jr., Devine, Mulvey and Pritzker, JJ., concur.
ADJUDGED that the determination is confirmed, without costs, and petition dismissed.








